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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               BECKLEY DIVISION

THOMAS SHEPPHEARD,
TYLER RANDALL, and
ADAM PERRY, next friend and guardian of
Minor child J.P., on their own behalf
and on behalf of all others
similarly situated,

       Plaintiffs,

v.                                                           Civil Action No. 5:23-cv-00530
                                                             Judge Irene C. Berger
JAMES C. JUSTICE JR., his official capacity
as Governor of the State of West Virginia, and
MARK SORSAIA, in his official capacity
as the Cabinet Secretary of the West Virginia
Department of Homeland Security,

       Defendants.

                                      PROTECTIVE ORDER
       By signing this Protective Order, the parties have agreed to be bound by its terms and to

request its entry by the presiding district or magistrate judge. It is hereby ORDERED as follows:

                                 I.      DISCOVERY PHASE

       A.     If a party, or a non-party producing information in this civil action, or an attorney

for the party or non-party, has a good faith belief that certain documents or other materials

(including digital information) subject to disclosure pursuant to a request or court order are

confidential and should not be disclosed other than in connection with this action and

pursuant to this Protective Order, the party, non-party, or attorney shall clearly mark each such

document or other material as “CONFIDENTIAL.” The individual or entity designating the

document or materials as “CONFIDENTIAL” must take care to limit any such designation to

specific documents or materials that qualify for protection under the appropriate standards.
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Mass, indiscriminate, or routine designations are prohibited. Designations that are shown to be

clearly unjustified or that have been made for an improper purpose (e.g., to unnecessarily

encumber or delay the case development process or impose unnecessary expense and burden on

another party) expose the designating individual or entity to sanctions. If it comes to the attention

of the designating individual or entity that a document or other material has been improperly

marked as “CONFIDENTIAL,” the designating individual or entity must promptly notify all

parties that the erroneous designation is being withdrawn and must replace the improperly

designated document or material with a copy that is not marked “CONFIDENTIAL.”

        B.      If a party or an attorney for a party disputes whether a document or other material

should be marked “CONFIDENTIAL,” the parties and/or attorneys shall attempt to resolve the

dispute with the designating individual or entity. If they are unsuccessful, the party or attorney

challenging the “CONFIDENTIAL” designation shall do so by filing an appropriate motion.

        C.      No party or attorney or other person subject to this Protective Order shall

distribute, transmit, or otherwise divulge any document or other material which is marked

“CONFIDENTIAL,” or the contents thereof, except in accordance with this Protective Order.

Court personnel are not subject to this Protective Order while engaged in the performance of

their official duties.

        D.      Any document or other material which is marked “CONFIDENTIAL,” or the

contents thereof, may be used by a party, or a party’s attorney, expert witness, consultant, or

other person to whom disclosure is made, only for the purpose of this action. Nothing contained

in this Protective Order shall prevent the use of any document or other material which is marked

“CONFIDENTIAL,” or the contents thereof, at any deposition taken in this action.

        E.      If a party or attorney wishes to disclose any document or other material which is

marked “CONFIDENTIAL,” or the contents thereof, to any person actively engaged in

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working on this action (e.g., expert witness, paralegal, associate, consultant), the person making

the disclosure shall do the following:

              1.   Provide a copy of this Protective Order to the person to whom disclosure is
                   made;
              2.   Inform the person to whom disclosure is made that s/he is bound by this
                   Protective Order;
              3.   Require the person to whom disclosure is made to sign an
                   acknowledgment and receipt of this Protective Order;
              4.   Instruct the person to whom disclosure is made to return any document
                   or other material which is marked “CONFIDENTIAL,” at the conclusion
                   of the case, including notes or memoranda made from
                   “CONFIDENTIAL” material; and
              5.   Maintain a list of persons to whom disclosure was made and
                   the “CONFIDENTIAL” materials which were disclosed to that person.

  II.    POST-DISCOVERY PHASE

         A.    If any party, non-party, or attorney wishes to file, or use as an exhibit or as

evidence at a hearing or trial, any “CONFIDENTIAL” document or material, s/he must provide

reasonable notice to the party that produced the document or material. The parties and/or attorneys

shall then attempt to resolve the matter of continued confidentiality by either (a) removing the

“CONFIDENTIAL” marking, or (b) creating a mutually acceptable redacted version that

suffices for purposes of the case. If an amicable resolution proves unsuccessful, the parties

and/or attorneys may present the issue to the court for resolution. The proponent of continued

confidentiality will have the burden of persuasion that the document or material should be

withheld from the public record in accordance with (a) Local Rule of Civil Procedure 26.4, (b)

the Administrative Procedures for Electronic Filing in the Southern District of West Virginia §

12, and (c) controlling precedent. See, e.g., Press-Enterprise Co. v. Superior Court, 478 U.S. 1,

8–9 (1986); Virginia Dep’t. of State Police v. Washington Post, 386 F. 3d 567, 575 (4th Cir.

2004).


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       B.      Within thirty days after the conclusion of the action, each party shall gather the

“CONFIDENTIAL” materials, copies thereof, and related notes and memoranda, including

materials given by that party to any other individual, and shall return them to the party or attorney

who originally disclosed them, with a certificate of compliance with the terms of this Protective

Order, unless: (1) the document has been offered into evidence or filed without restriction as to

disclosure; (2) the parties agree to destruction in lieu of return; or (3) as to documents bearing

the notations, summations, or other mental impressions of a receiving party or the party’s expert

witness or consultant, that party elects to destroy the documents and certifies to the producing

party that it has done so. Notwithstanding the above requirements to return or destroy

documents, counsel may retain attorney work product, including drafts of preliminary reports

submitted by an expert or consultant,              which includes information produced as

“CONFIDENTIAL,” so long as that work product does not duplicate verbatim substantial

portions or the text or images of confidential documents. Any such work product retained by an

attorney shall continue to be “CONFIDENTIAL” and shall be subject to this protective order.

The attorney may use his or her work product in other litigation provided that the attorney does

not use or disclose the confidential documents.

       The Clerk is instructed to provide a copy of this Order to counsel of record and any

unrepresented party.

         ENTER: March 12, 2024
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                                         ER
                                                 HON. IRENE C. BERGER, JUDGE




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